TFBAP (12/1/14) ljr                                                            U.S. BANKRUPTCY COURT
                                                                                DISTRICT OF OREGON
                                                                                        FILED

                                                                                    October 11, 2017
                                                                               Clerk, U.S. Bankruptcy Court

                                                                                      BY ljr DEPUTY
                                              TRANSMITTAL FORM

TO:            Bankruptcy Appellate Panel of the Ninth Circuit
               125 S Grand Ave, Pasadena CA 91105

FROM:          US Bankruptcy Court for the District of Oregon
               Office No. 3 District Code 0979 Portland Office

Case Name: Peter Szanto v. Evye Szanto

Bankruptcy No: 16−33185−pcm11

Adversary No: 16−03114−pcm

Bankruptcy Judge: Peter C McKittrick

Date Notice of Appeal Filed/Filing Fee Paid?: 9/6/2017; Paid

Date of Entry of Order(s) Appealed: 8/31/2017

Date Bankruptcy Filed: 9/21/16

Case docket and all documents are available electronically using PACER.

List of documents related to this appeal:

#227 Order re Motion to Prohibit Evidence Use of Peter Szanto's Deposition
#233 Notice of Appeal and Election to BAP
#234 Motion for Leave to Appeal
#241 Notice of Filing of Notice of Appeal
#254 Notice of Docketing Record on Appeal Case #17−1262
#268 Designation of Record
#282 Transmittal of Record on Appeal




Deadline for filing Statement of Issues/Designation/Transcript Order/Cross Appeal: 9/20/17



Transmittal Date: 10/11/17        By: Linda Reynolds
                                  Deputy Clerk
                                  US Bankruptcy Court
                                  (503) 326−1500
cc: parties listed above (without attachments)




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                               Case 16-03114-pcm        Doc 282   Filed 10/11/17
